                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT GREENEVILLE

   UNITED STATES OF AMERICA                                    )
                                                               )
                  v.                                           )       No.: 2:08-CR-38
                                                               )       JUDGE JORDAN
   ROBERT MARK MCPHERSON                                       )

                                 SENTENCING MEMORANDUM

          COMES NOW the United States of America, by and through James R. Dedrick, United

   States Attorney for the Eastern District of Tennessee, and files this sentencing memorandum in

   compliance with the Court’s Order.

          The statutory provisions for the lesser included offense related to Count 1 of the

   sentencing offense is a minimum mandatory term of imprisonment of 60 months. The

   Presentence Report prepared by U.S. Probation establishes the advisory guideline range to be an

   offense level of 25 with a criminal history category of II, or 63 to 78 months. The United States

   believes that the range of 63 to 78 months, adequately considers the sentencing factors

   enumerated in 18 U.S.C. §3553(a).

          The United States has determined that the defendant has not provided substantial

   assistance and therefore no motion for downward departure will be filed.

          The United States submits that a sentence within the advisory guideline range of 63 to 78

   months is appropriate.

          Respectfully submitted this the 11th day of December, 2009.

                                        JAMES R. DEDRICK
                                        UNITED STATES ATTORNEY

                                    By: s/ Caryn L. Hebets             .
                                        CARYN L. HEBETS
                                        ASSISTANT UNITED STATES ATTORNEY
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Case 2:08-cr-00038-RLJ-MCLC Document 374 Filed 12/11/09 Page 1 of 2 PageID #: 2933
                                  CERTIFICATE OF SERVICE

           I hereby certify that on December 11, 2009, the foregoing was filed electronically.
   Notice of this filing was sent by operation of the court's electronic filing system to all parties
   indicated on the electronic filing receipt. Counsel not indicated on the court’s EFS will be
   served by regular U.S. Mail, postage prepaid.


                                                          s/ Caryn L. Hebets
                                                          Assistant U.S. Attorney




Case 2:08-cr-00038-RLJ-MCLC Document 374 Filed 12/11/09 Page 2 of 2 PageID #: 2934
